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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES OF AMERICA            )
                                    )
          v.                        )                      No. 17-cr-00232 (EGS)
                                    )
MICHAEL T. FLYNN,                   )
                                    )
               Defendant.           )
____________________________________)


NOTIC OF ENTRY OF APPEARANCE FOR PROPOSED AMICI CURIAE

      Please kindly enter the appearance of undersigned counsel as attorney of

record for proposed amici curiae, Federal Practitioners.


                                             Respectfully submitted,



                                             __________/s/________________
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